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1    LAW OFFICE OF TODD D. LERAS
     Todd D. Leras, CA SBN 145666
2
     455 Capitol Mall, Suite 802
3    Sacramento, California 95814
     (916) 504-3933
4    toddleras@gmail.com
     Attorney for Defendant
5
     ZACHERY BASTIEN
6

7

8                                 UNITED STATES DISTRICT COURT

9                                EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                          Case No.: 2:16-cr-216 GEB
12
                    Plaintiff,
13
     vs.                                                STIPULATION AND [PROPOSED] ORDER
14                                                      CONTINUING STATUS CONFERENCE
     ZACHERY JOSEPH BASTIEN,
15
                                                        Date:        October 11, 2019
16
                    Defendant.                          Time:        9:00 a.m.
17                                                      Court:       Hon. Garland E. Burrell, Jr.

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20
            It is hereby stipulated and agreed by and between plaintiff United States of America and
21
     Defendant Zachery Bastien, through their respective attorneys, that the status conference/change
22
     of plea hearing presently set for September 6, 2019, at 9:00 a.m., be continued by the Court to
23
     October 11, 2019, at 9:00 a.m. Defense counsel is requesting the continuance to allow additional
24
     time for review of a revised plea agreement recently provided by the government, and for
25
     defense counsel to complete research regarding the potential consequences of the recently enacted
26
     First Step Act upon any sentence imposed in this case, and to otherwise prepare Mr. Bastien’s matter
27
     ORDER CONTINUING STATUS
28   CONFERENCE
                Case 2:16-cr-00216-DAD Document 70 Filed 09/06/19 Page 2 of 3


1
     for a potential change of plea hearing.
2
              This case involves, among other allegations, that Mr. Bastien participated in a conspiracy to
3
     structure monetary transactions (18 U.S.C.§ 371) and actual structuring of monetary transactions (31
4
     U.S.C. § 5324(a)(3)). The matter is set as for a jury trial scheduled to begin on January 21, 2020,
5
     with a Trial Confirmation Hearing set for December 6, 2019. This stipulation does not alter those
6
     dates.
7
              The government does not oppose the defense request to continue the status conference. Time
8
     under the Speedy Trial Act has previously been excluded, up to and including, the January 21, 2020
9

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     trial date (ECF Entry 58). No additional finding is necessary regarding exclusion of time.

11            Assistant U.S. Attorney Kevin Khasigian authorized Attorney Todd D. Leras via email to

12   sign this stipulation on his behalf.

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14
              Dated: September 3, 2019                       /s/ Todd Leras
                                                             ___________________________
15                                                           TODD LERAS
                                                             Attorney for defendant
16                                                           ZACHERY BASTIEN
17

18            Dated: September 3, 2019                       MCGREGOR W. SCOTT
                                                             United States Attorney
19

20
                                                             /s/ Kevin Khasigian
                                                     By:     _______________________
21                                                           KEVIN KHASIGIAN
                                                             Assistant United States Attorney
22                                                           (Per email authorization)
23

24

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27
     ORDER CONTINUING STATUS
28   CONFERENCE
               Case 2:16-cr-00216-DAD Document 70 Filed 09/06/19 Page 3 of 3


1
                                                       ORDER
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            The Court, having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its Order. It is
4
     hereby ORDERED that the presently set September 6, 2019, at 9:00 a.m., status conference
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     hearing shall be continued to October 11, 2019, at 9:00 a.m.
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            Based on the previous exclusion of time requested by defense counsel, up to and
7
     including the presently-scheduled jury trial date of January 21, 2020, no further finding is
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     required regarding time under the Speedy Trial Act.
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                    IT IS SO ORDERED.

11          Dated: September 5, 2019

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     ORDER CONTINUING STATUS
28   CONFERENCE
